                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

           Jonathan Byers,            )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )             3:21-cv-00570-FDW-DSC
                                      )
                 vs.                  )
                                      )
          Form and Supply,            )
            Defendant(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 28, 2021 Order.

                                               October 28, 2021




      Case 3:21-cv-00570-FDW-DSC Document 4 Filed 10/28/21 Page 1 of 1
